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: ay Application denied.

V3 J} \8\The Clerk of the Court is respectfully directed to

— Ciera *Jterminate the pending motion sequence at Doc. 111
and mail a copy of this Order to Plaintiff.

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OFFICE OF THE ATTORN ED.
LETITIA JAMES ! (if
ATTORNEY GENERAL 4
Philip M. Halpern
DIRECT DIAL: (212) 4 United States District Judge
Dated: New York, New York
November 5, 2020
BY ECF

Hon. Philip M. Halpern
United States District Court
Southern District of New York
500 Pearl Street

New York, NY 10007-1312

Re: Crichlow v, Annucci, No. 18 Civ. 3222 (PMH)

 

Dear Judge Halpern:

This Office represents defendants Anthony J. Annucci, Jeffrey Arliss, Michael Makowski,
Timothy McCoy, Gary Sipple, William Cole, William Keyser, Timothy Fitzpatrick, Edward
Burnett, William Holloran, Mark Puerschner, Christopher Karson, Wayne Jordan, George
Gilmour, Michael Kohler, Richard Skseveland, Kyle Layton, David Buchanan, Renee Askew,
Yelena Korobkova, James Moshier, Janice Wolf, Sandra Provx, and Lisa LaPenna (“Represented
Defendants”) in the above-referenced case. I write to respectfully request a stay of the 33.2
Disclosures, which is currently November 13, 2020 (Dkt. No. 105), as well as a stay of the time
to Answer for all Represented Defendants'.

The grounds for this request are that our office anticipates filing a motion to dismiss on
several claims against several Represented Defendants, Pursuant to Your Honor’s individual rules,
a letter has been sent out to the Plaintiff on November 4, 2020. In lieu of an Answer, Represented
Defendants anticipate filing a pre-motion letter on November 16, 2020.

The Second Amended Complaint is a handwritten eighty-page document (ECF No. 60,
pages 1 — 80) and brings multiple claims as against 24 named defendants. The anticipated motion
to dismiss will seek to dismiss many of the defendants, as well as many of the claims. Given the
the complexity of the Second Amended Complaint, it will be difficult to proceed with discovery
and file an Answer until the motion is decided and the contours of the claims are clearly defined

 

' An answer for all Defendants, except Provx and LaPenna, is due November 16, 2020 (Dkt, No, 95), Defendants
Provx’s answer is due December 14, 2020 (Dkt. No. 109), and Defendant LaPenna’s answer is due December 12,
2020 (Dkt. No.110).

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Represented Defendants accordingly respectfully request that the Court stay the deadlines
to serve 33.2 Disclosures and file an Answer. This is the first request for a stay of these deadlines.
I did not request the consent of incarcerated plaintiff pro se for this stay because of the difficulties
communicating by mail and I wanted to make this request forthwith as the deadlines are
approaching.

Respectfully submitted,

/s Jessica Acosta-Pettyjohn

Jessica Acosta-Pettyjohn

Assistant Attorney General
Jessica.acosta-pettyjohn@ag.ny.gov

Ce: Kevin Damion Crichlow
08A3511
Auburn Corr. Facility
C-14-22
P.O. Box 618
Auburn, New York 13024

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